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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




DISTRICT OF COLUMBIA
FOR THE BENEFIT/USE OF

OMNI EXCAVATORS, INC.,
6906 COURAGEOUS CIRCLE
BURKE, VA 22015

AND

AEGIS SECURITY INSURANCE COMPANY
2407 PARK DRIVE
HARRISBURG, PA 17110

                               Plaintiffs,

                -v.-                                          CASE NUMBER: 14-510


SAFECO INSURANCE COMPANY OF AMERICA 
1001 FOURTH AVENUE 
SAFECO PLAZA  
SEATTLE WA  98154  
 
SERVE: 
Department of Insurance, Securities and Banking  
Government of the District of Columbia 
810 First Street, NE     ‐ Suite 701 
Washington DC   20002

                               Defendant,



                                       COMPLAINT 
                                       THE PARTIES 
 
    1. Plaintiff,  Omni  Excavators,  Inc.  (hereafter  “Omni”),  is  a  for  profit  business 

       entity, which is incorporated in the Commonwealth of Virginia. 
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    2. Plaintiff,  Aegis  Security  Insurance  Company  (hereafter  “Aegis”),  is  an 

       insurance  company  incorporated  in  and  under  the  laws  of  the 

       Commonwealth of Pennsylvania. 

    3. Defendant, Safeco Insurance Company of America (hereafter “Safeco”), is an 

       insurance company incorporated in the State of Washington. 

 
                               JURISDICTION AND VENUE 

    4. Jurisdiction in this matter is founded upon 28 U.S.C. § 1332(a) because there 

       is  complete  diversity  of  citizenship  between  the  litigants,  i.e.,  the  Plaintiffs 

       are  citizens  of  the  Commonwealths  of  Virginia  and  Pennsylvania, 

       respectively,  and  the  Defendant  is  a  citizen  of  the  State  of  Washington,  and 

       the amount in controversy exceed $75,000.00. 

    5. Venue  is  proper  in  that  the  matters  complained  of  herein  occurred  in  the 

       District  of  Columbia  in  that  Omni  and  Aegis  bring  this  action  pursuant  to 

       rights which arise under a certain public construction project known as “Fort 

       Stanton Site Work and Joint Seals” (hereafter “the Project”) for the District of 

       Columbia Water and Sewer Authority (hereafter “the Project Owner”). 

    6. The  subject  matter  jurisdiction  and  venue  of  the  District  Court  are  also 

       proper in that the matters complained of herein give rise to an action upon a 

       certain payment bond issued by Safeco upon the Project, which bond shall be 

       hereafter more specifically identified and described, which right of action is 

       governed by the laws of the District of Columbia, to wit:  Title 2., Government 

       Administration, Chapter 2., Contracts, Subchapter I., Bonding Requirements, 
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   of  the  District  of  Columbia  Official  Code,  Section  2.201.02(a)  (hereafter  “DC 

   Little Miller Act”). 

                            GENERAL ALLEGATIONS 

7. On  January  18,  2010,  Omni  entered  into  a  Subcontract  with  Flippo 

   Construction  Company,  Inc.  (hereafter  “Flippo”)  to  provide  certain  labor 

   and/or materials in connection with the Project.  A copy of said Subcontract 

   is attached hereto as Exhibit 1 and is incorporated herein as if fully set forth. 

8. Prior  to  or  concurrent  with  the  Subcontract  transaction  with  Omni,  Flippo 

   had entered into a general or prime contract with the Project Owner. 

9. Pursuant to the laws of the District of Columbia and as part of the contracting 

   between  Flippo  and  the  Project  Owner,  Flippo  purchased  and  furnished  to 

   the Project Owner performance and payment bonds issued by Safeco for the 

   Project (hereafter “Safeco Bonds”), in which Flippo was the named Principal.  

   Copies  of  said  Bonds  are  attached  hereto  as  Exhibit  2  and  is  incorporated 

   herein as if fully set forth. 

10. Pursuant  to  the  Subcontract  and  other  applicable  Contract  Documents 

   incorporated therein by reference, Omni was required and did in fact furnish 

   certain  specified  labor  and/or  material  upon  the  Project,  which  specified 

   labor and/or material consisted of seven categories or “items of work” which 

   were jointly referred to and generally described by both Omni and Flippo as 

   Micropile,  Drainage  System,  Excavation,  Backfill,  Curb  and  Gutter,  Gravel 

   Roadway, and Asphalt Surface (hereafter “the Subcontract Work”).  
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11. Flippo  required  that  Omni  purchase  and  furnish  performance  and  payment 

   bonds for the Project. 

12. Omni  purchased  and  furnished  to  Flippo  performance  and  payment  bonds 

   issued  by  Aegis  for  the  Project,  in  which  Flippo  was  the  named  Obligee 

   (hereafter “Aegis Bonds”). 

13. In  consideration  of  the  issuance  of  the  Aegis  Bond,  and  for  other  good  and 

   valuable  consideration,  Aegis  and  Omni  entered  into  certain  agreements  in 

   which Aegis has received, inter alia, certain assignments of the rights and/or 

   entitlements  of  Omni  to  certain  contracts,  proceeds  of  such  contracts, 

   including the claims, and other entitlements of the Subcontract herein.    

                              COUNT ONE 
                 ACTION UPON THE SAFECO PAYMENT BOND 

14. The averments of paragraphs 1 through 13 are incorporated herein as if fully 

   set forth. 

15. At all times, Omni performed and completed the Subcontract Work in a good 

   and  workmanlike  manner  and  was,  at  all  relevant  times  herein,  compliant 

   with the Subcontract and other applicable Contract Documents. 

16. Omni  applied  to  Flippo  for  payment  of  the  value  of  the  Subcontract  Work 

   which it had performed and completed. 

17. Flippo  applied  to  the  Project  Owner  and  has  received  full  payment  for  the 

   Subcontract Work of Omni. 

18. Omni has made repeated demands upon Flippo for payment for the value of 

   the Subcontract Work, which value, exclusive of interest, is $202,865.77. 
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   19. Flippo  continues  to  refuse  to  make  payment  to  Omni  for  the  value  of  the 

       Subcontract  Work,  notwithstanding  its  receipt  of  full  payment  from  the 

       Project Owner for such Subcontract Work. 

   20. More  than  ninety  (90)  days  have  elapsed  since  the  Subcontract  Work,  for 

       which payment is sought herein, was last performed by Omni. 

   21. As  a  result  of  the  refusal  of  Flippo  to  pay  Omni  for  the  Subcontract  Work 

       within ninety (90) days of the last date on which such work was performed, 

       Omni  may  make  a  claim  for  payment,  and  does  herein  make  a  claim  for 

       payment,  upon  the  payment  bond  issued  by  Safeco  upon  the  Project  in  an 

       amount  equal  to  the  full  value  of  the  Subcontract  Work  which  remains 

       unpaid by Flippo, as the Principal of said Safeco Bonds.  

        

       WHEREFORE, Omni Excavators, Inc. and Aegis Security Insurance Company, 

jointly and severally, pray the Honorable Court to enter judgment in their favor and 

against  Safeco  Insurance  Company  of  America  in  the  amount  of  $202,865.77,  plus 

pre‐judgment  interest,  post  judgment  interest,  costs  of  suit,  and  attorney’s  fees  as 

permitted by law. 


                                       Respectfully Submitted,

                                          /s/ John Hermina
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